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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA
                                                     Criminal No. 18-292
                     v.

 ROBERT BOWERS

       MOTION FOR SUPPLEMENTAL PROTECTIVE ORDER PURSUANT TO
                            RULE 16(d)(1)

       AND NOW comes the United States of America, by its attorneys, Scott W. Brady, United

States Attorney for the Western District of Pennsylvania, Troy Rivetti and Soo C. Song, Assistant

United States Attorneys for said district, and Julia Gegenheimer, Special Litigation Counsel, Civil

Rights Division, and hereby moves this Court to enter the following Supplemental Protective

Order given the graphic, sensitive nature of certain discovery in this criminal case.             A

Supplemental Protective Order is necessary to protect the right of crime victims to be “treated with

fairness,” and with respect for their “dignity and privacy.” 18 U.S.C. § 3771(a)(8).

   A. Procedural History

       On October 27, 2018, the defendant, Robert Bowers, drove to the Tree of Life Synagogue

and entered the building carrying multiple firearms. The defendant opened fire, killing 11

congregants and injuring additional members of the Tree of Life, Dor Hadash and New Light

congregations. While inside the Tree of Life Synagogue, the defendant made statements indicating

his desire to “kill Jews.” Law enforcement officers responded to the scene and the defendant also

opened fire upon them, injuring four public safety officers. Doc. No. 1 at 1.

       As alleged in the 63-count Superseding Indictment, prior to October 27, 2018, the

defendant, using his account on the website gab.com, posted his belief that “jews are the children

of satan,” and authored several other posts that referred to Jewish people using anti-Semitic slurs,


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demonstrated deep animosity toward those of the Jewish faith, and applauded violence and death.

See Doc. No. 44 at 1.

       In conjunction with the investigation, the FBI and other law enforcement agencies

processed the crime scene, resulting in the production of graphic images, and acquired 911 calls

placed by victims from inside the Synagogue. Other photographs document autopsies that were

conducted by the Medical Examiner’s Office of the 11 deceased victims.              Many of these

photographs depict the victims’ badly mutilated bodies.

       Pursuant to a request by the defense, on February 13, 2019, the United States made graphic

scene evidence and 911 calls available to the defense team for review at the U.S. Attorney’s Office.

Subsequently, on February 15, 2019, the vast majority of scene photographs and 911 calls were

copied (on more than 13 separate computer discs) and then provided to defense counsel as Rule

16 material. Only the most sensitive, graphic images and only four 911 calls, those that depicted

or recorded deceased victims, were not included in these productions. They were instead retained

at the U.S. Attorney’s Office and offered to the defense for further in-person review at their

convenience. The defense team was additionally notified that they could make arrangements to

view the autopsy images, which they have not yet done. The autopsy reports themselves were

provided to the defense team on March 13, 2019. Accordingly, the subset of discovery materials

that have been designated as the most sensitive and graphic, and therefore in need of additional

protection from unnecessary dissemination and disclosure, is a small fraction of the overall number

of images and recordings that have already been produced to defense counsel.

       On September 6, 2019, in written correspondence, the defense requested copies of those

images which had been retained at the U.S. Attorney’s Office. The parties met in person on

September 17, 2019, to discuss outstanding discovery concerns, including the graphic crime scene



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and autopsy images. Following that meeting, on September 19, 2019, the United States affirmed

its willingness to provide copies of even the most graphic, sensitive images and recordings, under

the following conditions, given their sensitivity: “1) the sensitive images and 911 calls will remain

on an external storage drive and will not be further copied or saved to a computer server; 2) review

of the sensitive images and 911 calls will be limited to counsel of record and, if needed,

investigators employed by the Federal Public Defender in Pittsburgh; and, 3) the sensitive images

and 911 calls will not be shown to your client unless or until they have been identified as trial

exhibits and such review is necessary for trial preparation.”

       On September 30, 2019, defense counsel counter-proposed to maintain the evidence on

two external drives, one in Pittsburgh and one in San Diego, and offered to limit review of the

images “to members of the defense team who have either been appointed by the court or retained

by the FPD office.” They left open the prospect of making additional copies of the images pursuant

to an ex parte application and order by the Court. Most important, defense counsel was not willing

to further discuss or agree upon restrictions in showing graphic scene photos of victims to the

defendant, Robert Bowers.

       While the United States is willing to agree that the images can be provided on two external

drives, it will not agree to ex parte proceedings about further copying and disseminating these

most sensitive images. The United States also strongly objects to the defendant having unfettered

access to numerous, graphic images of the victims of his crimes, the majority of which will not be

trial exhibits. Accordingly, the parties are at an impasse and a Supplemental Protective Order is

necessary to protect the rights of victims and their surviving family members.

       On November 5, 2018, this Court entered a Protective Order memorializing general

controls and protective measures upon discovery that were the product of negotiation and



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agreement between the United States and defense counsel. Doc. No. 24. The United States now

seeks the following additional protections, in the form of a Supplemental Protective Order, that

will govern only those materials that have been designated as the most sensitive and graphic,

including scene images that depict deceased victims, autopsy images of deceased victims, and

certain 911 calls from victims:

    a. sensitive, graphic discovery will be produced to defense counsel on two external storage

          drives, one which will be maintained in Pittsburgh and another which will be maintained

          in San Diego, California. The content on the external drives will not be further copied or

          saved to a computer server or shared account;

    b. review of the sensitive, graphic discovery will be limited to counsel of record and, if

          needed, investigators employed by the Federal Public Defender in Pittsburgh and court-

          appointed experts;

    c. the defendant shall not have access to the sensitive, graphic discovery unless or until items

          have been identified as trial exhibits and such review is necessary for trial preparation;

    d. nothing in the Supplemental Protective Order shall prevent any party from seeking

          modification of this protective order or from objecting to discovery that it believes to be

          otherwise improper. No party shall seek modification of this Supplemental Protective

          Order ex parte. 1

    II.      Law in Support

          The nature of the allegations and evidence in this case compels heightened controls to

prevent the unnecessary exposure, duplication, or release of the most graphic scene photos.

Further, allowing the defendant to repeatedly review images that depict severe and lethal bodily


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        The proposed language in subsection (d) regarding modifications is exactly the same as
the language in the November 5, 2018, Protective Order entered by this Court. Doc. No. 24 at 2.
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injury, which he is charged with inflicting, to victims that he targeted because they were Jewish,

risks needless pain and harm to surviving family members and victims. There is no legitimate

need for the defendant to personally view hundreds of graphic photos or replay the final moments

of victims he killed.

       Under the Crime Victims Rights Act, victims are guaranteed the right to be “treated with

fairness,” and with respect for their “dignity and privacy.” 18 U.S.C. § 3771(a)(8). When crime

victims are deceased, their rights survive and may be assumed by family members, legal guardians

or other representatives. See 18 U.S.C. § 3771(e).

       Rule 16 permits a defendant to inspect and copy items such as photographs if the items are

within the government’s control and: (i) the item is material to preparing the defense; (ii) the

government intends to use the item in its case-in-chief at trial; or (iii) the item was obtained from

or belongs to the defendant.” Fed. R. Crim. P. 16(a)(1)(E). Importantly, Rule 16 of the Federal

Rules of Criminal Procedure provides: “At any time the court may, for good cause, deny, restrict,

or defer discovery or inspection, or grant other appropriate relief.” Fed. R. Crim. P. 16(d)(1). “The

court may permit a party to show good cause by a written statement,” 2 id., and that statement

should show good cause with particularity. See United States v. Wecht, 484 F.3d 194, 211 (3d

Cir. 2007).   “The good cause determination must also balance the public's interest in the

information against the injuries that disclosure would cause.” Id. Some statutes provide express

authority for the entry of a protective order in specific circumstances, including 18 U.S.C. App. 3

§ 3 (the Classified Information Procedures Act (CIPA)), 18 U.S.C. § 3509(d)(3) (the Child

Victim's Rights Act), and 18 U.S.C. § 1835 (involving trade secrets).



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        Rule 16(d)(1) also contemplates that a party may show good cause to deny, restrict or
defer discovery by a written statement that the court may inspect ex parte. There is no need for
ex parte review here.
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         The Supreme Court has sanctioned the use of protective orders: “the trial court can and

should, where appropriate, place a defendant and his counsel under enforceable orders against

unwarranted disclosure of the materials which they may be entitled to inspect.” Alderman v.

United States, 394 U.S. 165, 185 (1969). The Third Circuit, in the context of civil settlement, has

acknowledged that “[i]t is appropriate for courts to order confidentiality to prevent the infliction

of unnecessary or serious pain on parties who the court reasonably finds are entitled to such

protection.” Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787 (3d Cir.1994). “Courts also have

a great deal of flexibility in crafting the contents of protective orders to minimize the negative

consequences of disclosure and serve the public interest simultaneously.” Arthur R. Miller,

Confidentiality, Protective Orders, and Public Access to the Courts, 105 Harv.L.Rev. 427, 432–33

(1991) (cited in Pansy, 23 F.3d at 787). Depending upon the nature of the discovery at issue,

courts may issue protective orders that restrict discovery to “attorney eyes only” to protect trade

secrets or patents. Layne Christensen Co. v. Purolite Co., 271 F.R.D. 240, 242-43 (D. Kan. 2010)

(upholding the designation of some discovery as for attorney eyes only in patent infringement

case).

         Restrictions on a defendant’s access, or even defense counsel’s access, to certain sensitive

discovery is firmly grounded in precedent. In the context of national security prosecutions, district

courts have the power to restrict and deny defendants and defense counsel access to classified

material under Rule 16(d)(1), given the sensitivity of the subject matter and in furtherance of

national security. In fact, the Classified Information Procedures Act (CIPA) presumes that

discovery itself and access to discovery by the defendant and his counsel may be severely limited

or foreclosed entirely. 18 U.S.C. App. 3 §§ 3, 4; United States v. Younis, 867 F.2d 617 (D.C. Cir.

1989). In some instances, a court may restrain an individual defendant’s access to discovery as



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long as defense counsel has access to the material. See In re: Terrorist Bombings of U.S.

Embassies in East Africa, 552 F.3d 93, 125 (2d Cir. 2008) (upholding district court’s mandatory

security clearance policy regarding classified discovery which had the effect of barring defendant

from access). The Second Circuit has opined that the “production of materials to a party’s attorney

alone falls within the common meaning of ‘discovery.’” Id. at 126. The D.C. Circuit, in United

States v. Mejia, rejected the defendant’s Sixth Amendment Confrontation Clause challenge to

restrictions on classified discovery and clarified that the Confrontation Clause protects only a

defendant's trial rights “and does not create a right to pretrial discovery,” 448 F.3d 446, 458 (D.C.

Cir. 2006) (citing Pennsylvania v. Ritchie, 480 U.S. 39, 52 (1987)).

       In addition, the Supreme Court has recognized the government’s privilege “to withhold

from disclosure the identity of persons who furnish information of violations of law to officers

charged with enforcement of that law.” Roviaro v. United States, 353 U.S. 53, 59 (1957); see also

McCray v. Illinois, 386 U.S. 300 (1967); United States v. Jiles, 658 F.2d 194 (3d Cir. 1981). Given

the public interest in encouraging the flow of information to law enforcement, the contents of an

informant’s communications, if they would reveal the informant’s identity, may also be withheld

particularly when there is a high risk of danger and harm. See United States v. Valles, 41 F.3d

355 (7th Cir. 1994); Jiles, 658 F.2d at 198; see also, e.g., United States v. Pelton, 578 F.2d 701,

706-07 (8th Cir. 1978) (court properly issued a protective order preventing defendant's access to

tape recordings in light of government’s concern for the safety of cooperating sources whose

identity was disclosed in the recordings).

       In child exploitation prosecutions, neither defense counsel nor the defendant are able to

retain copies of the sexually explicit images in preparation for trial, and detained defendants do

not access or review sexually explicit images prior to trial. See 18 U.S.C. § 3509(m) (requiring



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that all child pornography “remain in the care, custody, and control of either the government or

the court”). Section 3509(m) explicitly restricts Rule 16, by instructing that "a court shall deny,

in any criminal proceeding, any request by the defendant to copy, photograph, duplicate, or

otherwise reproduce any property or material that constitutes child pornography ... .” 18 U.S.C.

§ 3509(m)(2)(A). A justification for this significant restriction is that each viewing of a sexually

explicit image of a child compounds the exploitation and harm and essentially re-victimizes that

child. See Ashcroft v. Free Speech Coalition, 535 U.S. 234, 249 (2002). Similar concerns exist

in this case.

        As a threshold matter, the very graphic scene and autopsy photos, and certain 911 calls,

while they may be material to the preparation of a defense, have not been categorically identified

for use in the government’s case-in-chief. They have not been obtained from nor do they belong

to the defendant. Because, under the proposed Supplemental Protective Order, defense counsel

would possess unlimited ability to review any of the most graphic evidence, and to describe and

discuss those items with the defendant, any material impact upon the preparation of the defense

due to restrictions on the defendant’s access would be marginal and temporary. The United States

acknowledges that, while it may remain unsettling to victim families, once the Court has set a trial

date and exhibits have been identified for use at trial, the defendant will have access to review the

trial exhibits. Thus, the defendant’s restricted access would be in place until a subset of the most

graphic evidence items have been identified as trial exhibits. There is absolutely no countervailing

public interest in allowing the defendant himself to view images that document the grievous

physical harm and death that he intentionally inflicted upon the victims.




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   III.      Conclusion

          The requested Supplemental Protective Order is necessary to prevent “unnecessary” and

“serious pain” to victim families and to accord the ongoing rights of privacy and dignity to

deceased victims and their families. See Pansy, 23 F.3d at 787; 18 U.S.C. § 3771(a)(8). In light

of the compelling interest in victim privacy and dignity, and given the extremely violent crimes

with which this defendant is charged, this Court has good cause to adopt and approve the

reasonable, temporary controls sought in the Supplemental Protective Order to protect the most

sensitive, graphic evidence. A proposed order is attached.

                                                    Respectfully submitted,

                                                    SCOTT W. BRADY
                                                    United States Attorney


                                             By:    s/Troy Rivetti
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA
                                                        Criminal No. 18-292
                     v.

 ROBERT BOWERS


                          SUPPLEMENTAL PROTECTIVE ORDER

       For good cause appearing, and to adequately protect crime victims’ privacy interests in

graphic, sensitive materials, pursuant to the Court’s authority under Fed. R. Crim. P. 16(d) and 18

U.S.C. § 3771(a)(8), it is hereby ORDERED:

       1.      The provisions contained in the agreed-upon Protective Order issued by this Court

on November 5, 2018, remain in full force and effect;

       2.      The following additional provisions in the Supplemental Protective Order will

govern only those materials that have been designated and marked by the United States as the most

sensitive and graphic, including scene images that depict deceased victims, autopsy images of

deceased victims, and certain 911 calls from victims;

       3.      Sensitive, graphic discovery will be produced to defense counsel on two external

storage drives, one of which will be maintained by the Federal Public Defender in Pittsburgh,

Pennsylvania, and another which will be maintained by counsel for defendant, Judy Clarke, in San

Diego, California. The content on the external drives will not be further copied or saved to a

computer server or shared account;

       4.      Review of the sensitive, graphic discovery will be limited to counsel of record and,

if needed, investigators employed by the Federal Public Defender in Pittsburgh and court-

appointed experts;
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        5.        The defendant shall not have access to, or review, any sensitive, graphic discovery

unless or until items have been identified as trial exhibits and such review is necessary for trial

preparation. The defendant’s access and review shall be strictly limited to the items identified as

trial exhibits;

        6.        Nothing in the Supplemental Protective Order shall prevent any party from seeking

modification of this protective order or from objecting to discovery that it believes to be otherwise

improper. No party shall seek modification of this Supplemental Protective Order ex parte;

        7.        This Supplemental Protective Order does not constitute a ruling on the question of

whether any particular material is properly discoverable or admissible and does not constitute any

ruling on any potential objection to the discoverability of any material.


                                                IT IS SO ORDERED.



                                                Honorable Donetta Ambrose
                                                Senior United States District Judge



                                                Date
